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      8                               UNITED STATES BANKRUPTCY COURT

      9                                EASTERN DISTRICT OF CALIFORNIA

     10    In re:                                              Case No. 2−11858−B−7
                                                               DCN:     EML-2
     11    VIRGINIA REYES                                      Chapter  7
                                                               MOTION TO REDEEM PERSONAL
     12             Debtor                                     PROPERTY UNDER 11 U.S.C. § 722

     13                                                        Date:      September 1, 2020
                                                               Time:      1:30 PM
     14                                                        Judge:     Hon. René Lastretto II
                                                               Place:     2500 Tulare St, Ctrm 13, 5th Fl.
     15                                                                   Fresno, CA 93721

     16             TO SECURED CREDITOR ONEMAIN FINANCIAL GROUP, LLC, THE
     17    CHAPTER 7 TRUSTEE, THE UNITED STATES TRUSTEE, ALL INTERESTED
     18    PARTIES, AND THEIR ATTORNEYS OF RECORD:
     19             At the above date, time and place, Debtor Virginia Reyes will move the Court for an
     20    Order allowing Debtor to redeem personal property pursuant to 11 U.S.C. § 722 and Bankruptcy
     21    Rule 6008 from Respondent OneMain Financial Group, LLC.
     22                      I. PROCEDURAL REQUIREMENTS UNDER 11 U.S.C. § 722
     23             1. Pursuant to 11 U.S.C. § 722, a debtor may “redeem tangible personal property
     24    intended primarily for personal, family, or household use, from a lien securing a dischargeable
     25    consumer debt, if such property is exempted under section 522 of the title or has been abandoned
     26    under section 554 of the title.” 11 U.S.C. §722.
     27             2. The personal property that Movant seeks to redeem is a vehicle that is more
     28    particularly described as follows:

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      1           a. Year: 2002
                  b. Make: Toyota
      2           c. Model: Camry
                  d. VIN: 4T1BF30K42U009513
      3

      4           3. Movant’s 2002 Toyota Camry (“Vehicle”) may be redeemed under 11 U.S.C. §722

      5    because it is tangible personal property intended primarily for personal, family or household use.

      6           4. As of May 29, 2020, the date of bankruptcy case filing, the Vehicle is subject to a

      7    single lien from OneMain Financial Group, LLC (“Respondent”) for $9,669.97.

      8           5. Movant’s interest in the Vehicle is exempt or has been abandoned by the estate.

      9           6. Movant scheduled the Vehicle as an asset and exempted the Vehicle pursuant to 11

     10    U.S.C. § 522.

     11                                      II. VALUATION STANDARD

     12           1. Pursuant to 11 U.S.C. § 722, a debtor may redeem personal property secured by a lien

     13    by paying such lienholder the amount of the allowed secured claim in a lump sum. An allowed

     14    secured claim “is a secured claim to the extent of the value of such creditor’s interest in the

     15    estate’s interest in such property.” 11 U.S.C. 506(a)(1).

     16           2. 11 U.S.C. § 506(a)(2) defines the secured claim as the “price a retail merchant would

     17    charge for property of that kind considering the age and condition of the property at the time

     18    value is determined.”

     19                                III. DETERMINING “RETAIL VALUE”

     20           1. Courts have relied upon industry guides such as Kelley Blue Book and Edmunds as the

     21    “appropriate starting point in determining retail value.” In re Morales, 387 B.R. 36, 46 (Bankr.

     22    C.D. Cal. 2008); see also In re Araujo, 464 B.R. 15 (Bankr. N.D. Cal. 2011).

     23           2. The Edmunds.com website provides retail valuations for used vehicles based on year,

     24    make, model, mileage, options and condition. Such valuations are admissible as “market

     25    quotations, tabulations, lists, directories, or other published compilations, generally used and

     26    relied upon by the public or by persons in particular occupations." Fed. R. Evid. 803(17).

     27           3. As detailed in the attached declaration, Movant determined the retail value for the

     28    Vehicle from Edmunds.com (“Edmunds Valuation”) based on its year, make, model, mileage,

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      1    options and condition, taking in the cost of needed repairs, the Edmunds Valuation is $901.08.

      2           4. Based on the foregoing, Movant asserts that the retail value of the Vehicle for

      3    redemption purposes (“Redemption Value”) is $901.08.

      4                                          IV. CONCLUSION

      5           WHEREFORE, Movant requests that the Court enter an Order:

      6           1. Granting this Motion; and

      7           2. Setting the Redemption Value at $901.08.

      8           3. Allowing Movant to cause the Redemption Value of $901.08 to be paid to Respondent

      9           OneMain Financial Group, LLC within 30 days of entry of the Order; and

     10           4. Requiring Respondent OneMain Financial Group, LLC to release its lien of record and

     11           surrender title according to Movant’s instructions within 14 days of receiving the

     12           Redemption Value.

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     14    Dated: July 23, 2020                                 /s/Evan Livingstone
                                                                Evan Livingstone
     15                                                         Attorney for Debtor

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